Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 1 of 36




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-02639-PAB-NYW

   JOHN PAULSON, an individual,

   Plaintiff,

   v.

   TWO RIVERS WATER AND FARMING COMPANY, a Colorado corporation; JOHN R.
   MCKOWEN, an individual; WAYNE HARDING, an individual; and TIMOTHY BEALL, an
   individual,

   Defendants.
   _____________________________________________________________________________

      PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES, INCENTIVE
             AWARD, AND REIMBURSEMENT OF LITIGATION EXPENSES
   _____________________________________________________________________________

           Plaintiff and Class Representative, John Paulson (“Plaintiff”) respectfully submits this

   Motion for Award of Attorney Fees, Incentive Award, and Reimbursement of Litigation Expenses

   (the “Fee Application”), seeking this Court’s approval of his attorneys’ legal fees and expenses

   incurred prosecuting this complex class action case (the “Action”) against Defendants.

           I.     INTRODUCTION

           After approximately four years of litigation, Steve A. Miller, P.C., Goldman Scarlato &

   Penny, P.C. (and its successor firm in this Action, Rosca & Scarlato LLC)1, and Schindler

   Anderson Goplerud & Weese, P.C. (together, “Plaintiff’s Counsel”), and the Settlement Class have

   successfully negotiated an excellent settlement of this class action securities fraud lawsuit (the



   1
    The same lead lawyers who represented the putative class at Goldman Scarlato & Penny P.C.
   continued to represent the putative class upon starting Rosca & Scarlato L.L.C. There is no overlap
   or duplication of work between the two firms’ representation of the class members.
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 2 of 36




   “Action”) against Two Rivers Water and Farming Company, John R. McKowen, Wayne Harding,

   and Timothy Beall (“Defendants”) in the amount of $1,500,000 in cash (the “Settlement”). The

   proposed Settlement is a very favorable recovery for the Settlement Class, especially when viewed

   in light of the risks and costs attendant to further, protracted litigation as well as the significant

   collection risks. Accordingly, Plaintiff’s Counsel hereby submits this Motion for Award of

   Attorney Fees, Incentive Award, and Reimbursement of Litigation Expenses (the “Fee

   Application”). Plaintiff’s Counsel herein request: (i) an award of attorneys’ fees in the amount of

   $495,959.12, which is one-third of the net Settlement; (ii) an incentive award in the amount of

   $5,000.00 for Plaintiff for his effort dedicated to this Action, and (iii) payment of litigation

   expenses incurred in prosecuting this Action in the amount of $7,122.65.

          Plaintiff’s Counsel obtained this Settlement through hard work and diligent effort:

   thoroughly researching and drafting two detailed complaints; extensively investigating the Class’s

   claims through formal and informal discovery of Defendants and third parties; retaining

   experienced bankruptcy counsel and working with such counsel to (successfully) defend an

   adversary proceeding filed against Plaintiff by GrowCo, Inc. (“GrowCo”), a subsidiary of Two

   Rivers, seeking to stay this Action; researching and fully briefing the opposition to a motion to

   dismiss filed by Mr. McKowen; obtaining a clerk’s default against Mr. Beall; preparing an

   extensive mediation statement and memoranda of law, along with supporting records, in

   connection with a 14-hour mediation session before Judge William Meyer (Ret.) of the Judicial

   Arbiter Group in July, 2020; continuing settlement negotiations with Judge Meyer’s assistance

   over the course of several weeks; negotiating and drafting the Settlement Agreement and

   supporting documents; and moving to dismiss Two Rivers as a party without prejudice due to Two

   Rivers’ failure to obtain substitute counsel after its most recent counsel withdrew from the case.




                                                     2
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 3 of 36




          The proposed Settlement of $1,500,000.00 represents an excellent recovery for the Class.

   The Settlement is within the range of acceptable possible litigation outcomes when weighed

   against the risk that the Class could recover far less, or even nothing, if this litigation continues,

   particularly if the applicable insurance policy was exhausted through protracted litigation. See

   MANUEL FOR COMPLEX LITIGATION § 21.632. Importantly, at the time of the Settlement,

   Two Rivers was in precarious financial condition. In a July 15, 2020 “Letter to Shareholders”

   attached to Two Rivers’ July 17, 2020 8-K filed with the SEC, Two Rivers’ CEO detailed a number

   of legal, accounting, and operational issues not properly disclosed that cast “substantial doubt”

   about Two Rivers’ ability to continue. If time-consuming litigation continued, even if it ultimately

   resulted in a favorable outcome for Plaintiff and the Class, there may have been nothing left from

   Two Rivers for Plaintiffs to collect.

          Plaintiff’s Counsel sent 85 notices to potential class members detailing the terms of the

   Settlement, the proposed plan for distributing Settlement funds, the fee award for Plaintiff’s

   Counsel, and the incentive award for Plaintiff that Plaintiff’s Counsel intended to request. To date

   Plaintiff’s Counsel has not received any objections to the Settlement or its proposed fee and

   incentive awards.

          Consistent with Tenth Circuit precedent, Plaintiff’s Counsel seeks one-third of the net

   Settlement (net of expenses and Incentive Award), $495,959.12, and reimbursement of litigation

   expenses in the amount of $7,122.65. In the Tenth Circuit, “the typical fee award in complex cases

   is around one third of the common fund.” In re Crocs, Inc. Sec. Litig., 2014 U.S. Dist. LEXIS

   134396, at *10-11 (D. Colo. Sept. 18, 2014). Further, a “33% fee award falls within the norm.”

   Diaz v. Lost Dog Plaza, LLC, Civil Action No. 17-cv-2228-WJM-NYW, 2019 U.S. Dist. LEXIS

   85375, at *12 (D. Colo. May 21, 2019); see also In re Syngenta AG MR 162 Corn Litig., 357 F.




                                                     3
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 4 of 36




   Supp. 3d 1094, 1114 (D. Kan. 2018) (a 33.3% fee award on a $1.51 billion settlement was

   reasonable; applying an arbitrary sliding fee percentage scale in large settlements “fails to provide

   the proper incentive for counsel and is fundamentally at odds with the percentage-of-the-fund

   approach favored by the Tenth Circuit.”).

           While not required in the Tenth Circuit, a lodestar cross-check further supports this Fee

   Application. Here, the lodestar figure is $602,319.75, total expenses requested are $7,122.65, and

   the incentive award requested is $5,000.00. Therefore, the requested one-third percent fee equates

   to a .82 (negative) lodestar multiplier. ($1,500,000 - $7,122.65 - $5,000.00 = $1,487,877.35;

   $1,487,877.35 / 3 = $495,959.12; $495,959.12 / 602,319.75 = .82). That is much lower than the

   norm in this Circuit. For example, in In re DaVita Healthcare Partners, Inc. Deriv. Litig., Civil

   Action No. 12-cv-2074-WJM-CBS, 2015 U.S. Dist. LEXIS 74372, at *15-16 (D. Colo. June 5,

   2015), the court awarded a fee with a lodestar multiplier of 3, finding it “in line with the multipliers

   awarded in similar cases.” See also Crocs at *12-13 (referencing cases approving multipliers from

   2.5 to 4.6); In re Qwest Communs. Int'l, Inc. Sec. Litig., 2006 U.S. Dist. LEXIS 71267, at *22 (D.

   Colo. Sep. 28, 2006) (“counsel who create a common fund for the benefit of a class are rewarded

   with fees that often are at least two times the reasonable lodestar figure, and in some cases reach

   as high as five to ten times the lodestar figure.”) (emphases added); Vaszlavik v. Storage Tech.

   Corp., 2000 U.S. Dist. LEXIS 21140, at *7-8 (D. Colo. Mar. 9, 2000) (“Courts in common fund

   cases regularly award multipliers of two to three times the lodestar or more to compensate for risk

   and to reflect the quality of the work performed.”).

           Plaintiff’s Counsel also seeks an award of $5,000.00 for Plaintiff John Paulson, the Class

   Representative, to compensate him for his efforts to assist Plaintiff’s Counsel with the litigation of

   the Action. As more fully detailed below, Plaintiff Paulson took an active role in the litigation and




                                                      4
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 5 of 36




   has been fully committed to pursuing the class’s claims from the beginning of this Action. See

   Paulson Dec., Exhibit 2 to the Motion for Final Approval filed contemporaneously with this Fee

   Application. Plaintiff Paulson’s efforts required him to dedicate a significant amount of time to

   the Action that he would have otherwise devoted to his regular business. The requested award is

   based on Plaintiff Paulson’s commitment to these activities. Id.

          Lastly, Plaintiff’s Counsel requests reimbursement of the expenses incurred for necessary

   and reasonable steps taken during the course of this litigation, including for filing fees, travel for

   court proceedings, expert witness fees, process servers, and a mediation fee.

          For the foregoing reasons, set forth in more detail below, Plaintiff’s Counsel respectfully

   requests this Court approve their Fee Application.

          II.     LEGAL STANDARD

          The Supreme Court recognizes that “a litigant or a lawyer who recovers a common fund

   for the benefit of persons other than himself or his client is entitled to a reasonable attorney’s fee

   from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478, 100 S. Ct. 745 (1980);

   US Airways, Inc. v. McCutchen, 569 U.S. 88, 104,133 S. Ct. 1537 (2013). The purpose of the

   common fund doctrine is to fairly and adequately compensate class counsel for services rendered,

   and to prevent unjust enrichment of persons benefiting from a lawsuit without bearing the cost.

   See Boeing, 444 U.S. at 487.

          The Tenth Circuit has also adopted that reasoning. See, e.g., Gottlieb v. Barry, 43 F.3d 474

   (10th Cir. 1994); Brown v. Phillips Petroleum Co., 838 F.2d 451 (10th Cir. 1988); In re

   Oppenheimer Rochester Funds Grp. Sec. Litig., 2014 U.S. Dist. LEXIS 142673 (D. Colo. July 31,

   2014). Thus, courts in the Tenth Circuit have “long recognized that class counsel and the class

   should have aligned interests in this type of matter, such that counsel are both compensated for




                                                     5
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 6 of 36




   risk and rewarded for success, where, as here, the Class receives significant benefit.” See Cook v.

   Rockwell Int’l Corp., Civil Action No. 90-cv-00181-JLK, 2017 U.S. Dist. LEXIS 181814, at *10

   (D. Colo. Apr. 28, 2017).

            In addition to providing just compensation, courts recognize that awards of attorney fees

   from common funds “serve to encourage skilled counsel to represent those who seek redress for

   damages inflicted on entire classes of persons, and to discourage future alleged misconduct of a

   similar nature.” Voulgaris v. Array Biopharma, 2021 U.S. Dist. LEXIS 249646, at *35 (D. Colo.

   Dec. 3, 2021). Courts also recognize that, in addition to providing just compensation, awards of

   attorneys’ fees from a common fund should “serve to encourage skilled counsel to represent those

   who seek redress for damages inflicted on entire classes of persons, and to discourage future

   alleged misconduct of a similar nature.” In re Flag Telecom Holdings, 2010 U.S. Dist. LEXIS

   119702, at *68 (S.D.N.Y. Nov. 5, 2010); see also, Crocs at *16 (“Federal securities class actions

   require Lead Counsel to expend substantial time and effort with no guarantee of success. In light

   of these difficulties, ‘public policy supports granting attorneys’ fees that are sufficient to encourage

   Lead Counsel to bring securities class actions that supplement the efforts of the SEC.’”) (internal

   citations omitted). Finally, compensating Plaintiff’s Counsel for the risks they take in bringing

   these actions furthers public policy and is important because “[s]uch actions could not be sustained

   if Lead Counsel were not to receive remuneration from the settlement fund for their efforts on

   behalf of the class.” In re Merrill Lynch Tyco Research Sec. Litig., 249 F.R.D. 124, 142 (S.D.N.Y

   2008).

            II.    PLAINTIFF’S COUNSEL’S REQUEST FOR ATTORNEYS’ FEES IS
                   REASONABLE GIVEN THE RESULT OBTAINED AND UNANIMOUS
                   LEGAL AUTHORITY

            A.     Legal Authority from District Courts within the Tenth Circuit Supports
                   Plaintiff’s Counsel’s Request for One-Third of the Settlement Fund.




                                                      6
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 7 of 36




          For their efforts in creating a $1.5 million Settlement Fund, Plaintiff’s Counsel seeks a fee

   award of one-third of the net Settlement after deducting expenses and an Incentive Award or

   $495,959.12. Tenth Circuit precedent squarely supports the request. In Brown, 838 F.2d at 454,

   the Tenth Circuit affirmed the propriety of awarding attorneys’ fees on a percentage basis in a

   common fund case. See also Gottlieb, 43 F.3d at 483 (“In our circuit, following Brown and

   Uselton, either [the percentage or lodestar] method is permissible in common fund cases; however,

   Uselton implies a preference for the percentage of the fund method.”) (citing Uselton v.

   Commercial Lovelace Motor Freight, 9 F.3d 849, 853 (10th Cir. 1993)); Vaszlavik, at *4 (“[w]hile

   enhanced lodestar cases remain instructive, the Tenth Circuit has expressed ‘a preference for the

   percentage of the fund method’”). The percentage method also is consistent with arrangements in

   the private marketplace for contingency cases, in which individual clients typically agree to a fee

   based on the amount recovered. See Blum v. Stenson, 465 U.S. 886, 903 (1984). In Brown, 838

   F.2d at 455 n.2, the Tenth Circuit recognized that a typical percentage award in a common fund

   case is around one-third of the recovery.

          Plaintiff’s Counsel’s requested fee falls within the range of fee percentages awarded in

   securities class actions. See Lucken Family Ltd. P’ship, LLLP v. Ultra Res., Inc., 2010 U.S. Dist.

   LEXIS 144366, at *13-14 (D. Colo. Dec. 22, 2010) (“The customary fee awarded to class counsel

   in a common fund settlement is approximately one third of the total economic benefit bestowed

   on the class.”); see also Anderson v. Merit Energy Co., 2009 U.S. Dist. LEXIS 100681, at *6

   (awarding 26% of recovery); Lucas v. Kmart Corp., Civil Action No. 99-cv-01923-JLK-CBS,

   2006 U.S. Dist. LEXIS 51420, at *18 (D. Colo. July 27, 2006) (a “customary fee award” is 30%

   of the fund under the percentage of the fund approach); Vaszlavik at *10 (the requested 30% fee is




                                                    7
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 8 of 36




   well within the ordinary range of common fund awards). Plaintiff’s Counsel’s fee request of one-

   third of the Settlement is accordingly in line with fee awards granted in the Tenth Circuit.

          B.      The Johnson Factors Support the Reasonableness of the Fee Application.

          To determine the appropriate percent of a settlement to award as attorneys’ fees, federal

   courts, including the Tenth Circuit, rely heavily on the factors set forth in Johnson v. Ga. Highway

   Express, Inc., 488 F.2d 714 (5th Cir. 1974). Brown, 838 F.2d at *454; see also Usleton v.

   Commercial Lovelace Motor Freight, 9 F.3d 849, 853 (10th Cir. 1993) (affirming the relevance of

   the twelve Johnson factors).

          The Johnson factors are: 1) the time and labor required; 2) the novelty and difficulty of the

   questions; 3) the skill required to perform the legal service properly; 4) the preclusion of other

   employment by the attorney due to the acceptance of the case; 5) the customary fee; 6) whether

   the fee is fixed or contingent; 7) time limitations imposed by the client or the circumstances; 8)

   the amount involved and the results obtained; 9) the experience, reputation, and ability of the

   attorneys; 10) the “undesirability” of the case; 11) the nature and length of the professional

   relationship with the client; and 12) awards in similar cases. Johnson, 488 F.2d at *717-19.

   Because “rarely are all of the Johnson factors applicable,” Brown, 838 F.2d at *456, the Johnson

   factors are a “guide to [a] fee determination and … not all of [the Johnson factors] need be

   considered. Gudenkauf v. Stauffer Communs., 158 F.3d 1074, 1083 (10th Cir. 1998).

                     1.      The amount involved and the results obtained support the
                             reasonableness of the Fee Application.

          In a common fund case, the ninth Johnson factor, the amount involved and the results

   obtained may be given greater weight when the trial judge determines recovery is highly

   contingent and the efforts of counsel were instrumental in realizing recovery for the class. Brown,

   828 F.2d at *456; see also In re King Res. Sec. Litig., 420 F. Supp. 610, 630 (D. Colo. 1976)




                                                    8
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 9 of 36




   (While other factors are of substantial importance in determining reasonable attorney fees, the

   amount of the recovery, and end result achieved are of primary importance, for these are the true

   benefit to the client.”).

           Plaintiff’s Counsel worked diligently to obtain a $1.5 million Settlement for the Class. As

   detailed in Plaintiff’s Counsel’s Motion for Final Approval and the Declaration of Paul J. Scarlato

   submitted as Exhibit 1 therewith, this Action involved, inter alia, complex issues that required

   extensive research, discovery, and the retention of experienced bankruptcy counsel to ensure this

   Action could proceed. Further, the proposed Settlement avoids the risks, and costs and delays, of

   continued litigation and possible appeals, as well as significant collection risks. Courts recognize

   that the risks associated with continued litigation are important factors in determining a fee award.

   See, e.g., In re Thornburg Mortg., Inc., 912 F. Supp. 22 1178, 1209 (D.N.M. 2012) (approving a

   fee application in “novel and difficult” litigation of “a class action securities case with numerous

   defendants, multiple securities offerings at issue, and a corporate defendants [sic] who went

   bankrupt.”); Voulgaris at *40 (D. Colo. Dec. 3, 2021) (“numerous cases have recognized that the

   risks of litigation are important factors in determining a fee award.”); Swartz v. D-J Eng’g, Inc.,

   2016 U.S. Dist. LEXIS 20017, at *15 (D. Kan. Feb. 17, 2016) (approving fee award when the

   additional risk, time, and expense of trial outweighed the immediate recovery of $100,000.00).

           The proposed Settlement is also a substantial percentage of the Class’s estimated losses –

   6.4% in line with median settlement values of approximately 7.6%. See Crocs at *11 (collecting

   multiple cases with attorney fee awards of approximately 30%); see also In re Merrill Lynch &

   Co. Research Reports Sec. Litig., 2007 U.S. Dist. LEXIS 9450, at *33 (S.D.N.Y. Jan. 31, 2007)

   (“in 2005, the median settlement as a percentage of estimated damages was 3.1% in securities class

   actions where plaintiffs estimated damages between $501 million and $1 billion … recovery of




                                                    9
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 10 of 36




    approximately 6.25% of estimated damages … is at the higher end of the range of reasonableness

    of recovery in class action securities litigations.”).

                       2.      The novelty and difficulty of the legal and factual issues support
                               the reasonableness of the fee request.

            The novelty and difficulty of the issues in a case is a significant factor to be considered in

    making a fee award. Diaz at *5. “Despite years of litigation, the area of securities law has gained

    little predictability. There are few ‘routine’ or ‘simple’ securities actions.” Miller v. Woodmoor

    Corp., 1978 U.S. Dist. LEXIS 15234, at *12 (D. Colo. Sept. 28, 1978). “The very nature of a

    securities fraud case demands a difficult level of proof to establish liability.” In re Mills Corp. Sec.

    Litig., 265 F.R.D. 246, 263 (E.D. Va. 2009). “Elements such as scienter, reliance, and materiality

    of misrepresentation are notoriously difficult to establish.” Id. The “prosecution and management

    of a complex national class action requires unique legal skills and abilities.” Knight v. Red Door

    Salons, Inc., No. 08-01520 SC, 2009 U.S. Dist. LEXIS 11149, at *15 (N.D. Cal. Feb. 2, 2009).

            This litigation centers around allegations of material misrepresentations and omissions in

    Offering Documents provided to investors in the cannabis industry, as well as allegations of

    improper comingling of investors’ funds, which comingling benefited Defendants. To prove his

    allegations, Plaintiff must rely on experts to opine as to whether the misrepresentations and

    omissions were material, whether the allegedly omitted material was required to be disclosed, and

    whether investor funds were improperly comingled. As detailed in the Motion for Final Approval,

    Defendants raised credible defenses, which, if proven, could result in a much smaller recovery, or,

    potentially, no recovery at all.

            Accordingly, defeating Defendants’ arguments at summary judgment, trial, and possibly

    on appeal would have been time-consuming and risky. See In re Thornburg at *1242 (“Damages

    in this case, as is common in securities class actions, would likely have been reduced to a ‘battle




                                                       10
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 11 of 36




    of the experts,’ and it is virtually impossible to predict with any certainty which testimony would

    be credited.”).

           Second, further litigation is risky with respect to collectability. The source of the funds for

    this Settlement is an insurance policy that potentially covers the individual defendants as former

    directors and officers of Two Rivers. See, Scarlato Decl. at ¶ 32. The policy is an exhausting

    policy; thus, the insurance proceeds may be depleted by the continuation of this litigation. Id. In

    addition, the corporate defendant, Two Rivers, that was eventually dismissed from the Action for

    failure to retain counsel, reported substantial financial difficulties at the time of Settlement that

    may have prevented it to continue to conduct its business. Specifically, in a Form 8-K filed with

    the Securities and Exchange Commission on July 17, 2020, Two Rivers disclosed that it had sent

    a July 15, 2020 “Letter to Shareholders” where it disclosed a number of legal, accounting, and

    operational issues that cast “substantial doubt” about its ability to continue. Thus, even if resource-

    consuming litigation would ultimately be successful, by that time there may not be anything left

    of Two Rivers to satisfy a judgment.

           Plaintiff’s Counsel’s ability to successfully navigate these and other complex legal and

    factual obstacles fully supports the requested fee award.

                      3.      The skill requisite to perform the legal service properly and the
                              experience, reputation and ability of counsel support the
                              reasonableness of the fee request.

           The skill required and the experience, reputation, and ability of the attorneys, also support

    the reasonableness of this fee request. Qwest at *18-19. The “prosecution and management of a

    complex national class action requires unique legal skills and abilities.” Knight at *16. Here, the

    quality of Class Counsel’s work on this case is reflected in the substantial recovery obtained. See,

    e.g., Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 547-48 (S.D. Fla. 1988).




                                                      11
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 12 of 36




           Class Counsel has extensive and significant experience in the highly specialized field of

    securities class action litigation. Class Counsel’s firm resumes, which describe the firms’

    background and experience in conducting securities litigation, were attached as Exhibits to the

    Revised Motion for Preliminary Approval. See, Doc. 157, Exhibits 4 and 5. The quality of

    opposing counsel is also important in evaluating the quality of the work done by Plaintiff’s

    Counsel. See, e.g., In re Equity Funding Corp. of Am. Sec. Litig., 438 F. Supp. 1303, 1337 (C.D.

    Cal. 1977) (court recognized that “plaintiffs’ attorneys in this class action have been up against

    established and skillful defense lawyers, and should be compensated accordingly”). The quality of

    opposing counsel is important in evaluating the quality of services rendered by Plaintiff’s Counsel.

    See, e.g., Qwest at *18 (considering that counsel for defendants were also “represented by lawyers

    of similar expertise and experience”). Throughout the Litigation, Class Counsel faced formidable

    opposition from Defendants’ law firms. In the face of knowledgeable and solid opposition, Class

    Counsel was able to develop a case that was sufficiently strong to encourage Defendants to settle

    the case on favorable terms for the Settlement Class. Class Counsel’s diligent efforts should be

    rewarded.

                      4.      The contingent nature of the fee supports the reasonableness of
                              the fee request.

           Paramount in the determination of a fair fee is consideration of the contingent nature of the

    fee and the significant risks of non-recovery. See Vaszlavik at *9-10 (“Class Counsel took the case

    on a contingent basis, which permits a higher recovery to compensate for the risk of recovering

    nothing for their work.”); Qwest at *22 (a contingent fee “is designed to reward counsel for taking

    the risk of prosecuting a case without payment during the litigation, and the risk that the litigation

    may be unsuccessful”).




                                                     12
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 13 of 36




           Numerous cases recognize that the risk of continued litigation is an important factor in

    determining a fee award. See City of Detroit v. Grinnell Corp., 495 F.2d 448, 470 (2d Cir. 1974),

    abrogated by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000); Lindy Bros. Builders,

    Inc. of Phila. v. Am. Radiator & Standard Sanitary Corp., 540 F.2d 102, 117 (3d Cir. 1976);

    Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048 (9th Cir. 2002) (“[r]isk is a relevant

    circumstance.”).

           The determination of a fair fee must include consideration of the contingent nature of the

    fee and the difficulties which were overcome in obtaining the settlement: “[i]t is an established

    practice in the private legal market to reward attorneys for taking the risk of non-payment by

    paying them a premium over their normal hourly rates for winning contingency cases.” In re Wash.

    Pub Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1299 (9th Cir. 1994) (citing Richard Posner,

    Economic Analysis of Law, § 21.9, at 534-35 (3d ed. 1986)). In fact, contingent fees that may far

    exceed the typical non-contingent market value of the services are accepted in the legal profession

    as a legitimate way of assuring competent representation for plaintiffs, who could not afford to

    pay on an hourly basis regardless of whether they win or lose. Id.

           While this case clearly has merit, facts almost always exist that make even the strongest

    cases risky. This case is no exception. Despite these risks, Plaintiff’s Counsel prosecuted this

    matter on a wholly contingent basis, bearing all the risks of litigating. Plaintiff’s Counsel has

    received no compensation for this litigation and incurred significant expenses for the benefit of the

    Class. Any fee award or expense payment to counsel has always been at risk and completely

    contingent on the result achieved. This, in part, is why Plaintiff supports his Counsel’s Fee

    Application.




                                                     13
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 14 of 36




                      5.      The time and labor expended by Plaintiff’s Counsel support the
                              reasonableness of the Fee Application.

           The time and labor Plaintiff’s Counsel expended prosecuting this Action firmly support the

    requested fee. These efforts included an extensive and extremely comprehensive investigation,

    consultation with an expert, drafting a highly detailed Complaint and Amended Complaint,

    researching complex legal issues, fully briefing a robust opposition to Defendant’s motion to

    dismiss, and conducting discovery. In addition, the extensive settlement negotiations were

    substantially time-consuming, and included detailed mediation statements and presentations over

    the course of the mediation that culminated in the Settlement. Plaintiff’s Counsel also thoroughly

    reviewed discovery exchanged in advance of the mediation.

           Further, while not required in the Tenth Circuit, a lodestar “cross check” analysis also

    supports this Fee Application. As a cross-check on the reasonableness of a requested fee award,

    courts often compare counsel’s “lodestar” (a compilation of the hours performed at the various

    rates charged by the professionals working on the case) with the fee request made under the

    percentage-of-the-recovery method. See, e.g., Vizcaino at 1050 (“[T]he lodestar calculation can be

    helpful in suggesting a higher percentage when litigation has been protracted [and] may provide a

    useful perspective on the reasonableness of a given percentage award.”); see also Fischel v.

    Equitable Life Assurance Soc’y of U.S., 307 F.3d 997, 1007 (9th Cir. 2002) (a benchmark fee

    percent can be adjusted up or down to account for any unusual circumstances involved in the case).

           In total, Plaintiff’s Counsel incurred $602,319.75 in lodestar. The requested fee of

    $495,959.12 equates to a negative multiplier of .82 – substantially lower than the range of

    multipliers routinely approved by courts in this District and the Tenth Circuit. See e.g., Qwest at

    *21 (“[L]ead counsel who create a common fund for the benefit of a class are rewarded with fees

    that often are at least two times the reasonable lodestar figure, and in some cases reach as high as




                                                    14
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 15 of 36




    five to ten times the lodestar figure.”); Vaszlavik at *7-8 (“Courts in common fund cases regularly

    award multipliers of two to three times the lodestar or more to compensate for risk and to reflect

    the quality of the work performed.”).

            While Plaintiff’s Counsel’s fee represents a negative multiplier to their lodestar, courts in

    this District have stated that positive multipliers are justified where plaintiff’s counsel litigates on

    a contingent basis. See Tuten v. United Airlines, Inc., 41 F. Supp. 3d 1003, 1009 (D. Colo. 2014)

    (“Class Counsel took the case on a contingent basis, which permits a higher recovery to

    compensate for the risk of recovering nothing for their work.”). Further, multipliers are appropriate

    in cases like this one when the “scope and nature of the work required by Plaintiff’s counsel both

    in preparation for and during litigation” is of significant “complexity.” In re Davita Healthcare

    Partners, Inc. Derivative Litig., No. 12-cv-2074-WJM-CBS, 2015 U.S. Dist. LEXIS 74372, at *15

    (D. Colo. June 5, 2015) (awarding multiplier of 3x in shareholder derivative lawsuit); see also

    Peace Officers' Annuity & Ben. Fund of GA v. Davita, Inc., Civil Action No. 17-cv-0304-WJM-

    NRN, 2021 U.S. Dist. LEXIS 131699, at *3 (D. Colo. July 15, 2021); Crocs at *4 (referencing

    District cases approving multipliers ranging from 2.5 to 4.6); In Re Cement & Concrete Antitrust

    Litigation, 1980–81 Trade Cases ¶ 63,798 (D.Ariz. 1980) (up to 2.85); In re Arizona Escrow Fee

    Antitrust Litigation,1982–83 Trade Cases ¶ 65,1 98 (D.Ariz.1982) (up to 3.1); Brewer v. S. Union

    Co., 607 F. Supp. 1511, 1533 (D. Colo. 1984) (collecting cases where multipliers of 1.5 to 4 were

    applied); In re Arizona Dairy Prod. Litig.,1984 WL 2928, at *8 (D. Ariz. Jan. 16, 1984) (Court

    applied a multiplier of 2.7 and 2.8 to the lodestar amount requested by the law firms that

    represented Plaintiffs).

            Plaintiff’s Counsels’ hourly rates range from $275.00 to $750.00 an hour, consistent with

    hourly rates approved in similar cases. See, e.g., In re Molycorp Inc. Sec. Litig., Civil Action No.




                                                      15
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 16 of 36




    1:12-cv-00292-RM-KMT, 2017 U.S. Dist. LEXIS 233751, at *9 (D. Colo. June 16, 2017)

    (approving 30% fee request in securities class action where attorney hourly rates ranged from $435

    to $955 per hour); Crocs at *4 (awarding 30% fee where attorney hourly rates were up to $935 per

    hour and were “higher than the rates charged by attorneys of similar skill and experience in the

    Denver legal market”); In re Amgen Inc. Sec. Litig., No. CV 7-2536 PSG (PLAX), 2016 U.S. Dist.

    LEXIS 14877, at *9 (C.D. Cal. Oct. 25, 2016) (approving rates of $750-$985 for partners and

    $300-$725 for associates).

                       6.      The undesirability of the action supports the reasonableness of
                               the fee request.

            “Due to the degree of risk involved and the extensive time commitments associated [with]

    securities litigation, the court recognizes the undesirability of representing plaintiffs in such cases.”

    In re Storage Tech. Corp. Sec. Litig., No. 84-1981, 1990 U.S. Dist. LEXIS 18461, at *9 (D. Colo.

    Sept. 28, 1990). Despite the inherent risks Plaintiff’s Counsel took on a risky, complex, and

    protracted litigation requiring them to expend extensive funds and resources against formidable

    opposition with no guarantee of success See, e.g., Lucas at *20 (class action was “not a desirable

    case to take” given the risk of no recovery and legal issues involved). This was a complex case

    that required comprehensive legal work in many areas of law. For example, from the beginning

    Plaintiff’s Counsel recognized that GrowCo’s pending bankruptcy would complicate this

    litigation. After commencing this case, GrowCo filed an adversary proceeding within its

    bankruptcy case , seeking injunctive relief to prevent this litigation from proceeding. Aware of the

    magnitude of the risk of losing the adversary proceeding, Plaintiff retained experienced bankruptcy

    counsel to (successfully) defend that adversary proceeding.

            Thus, “[t]his [Johnson] factor carries significant weight and weighs in favor of a substantial

    fee award.” Qwest at 1153; see also In re United Telecomms., Sec. Litig., No. 90-2251, 1994 U.S.




                                                       16
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 17 of 36




    Dist. LEXIS 9151, at *12 (D. Kan. June 1, 1994) (“A one-third fee award is also reasonable in

    light of the undesirability associated with the relatively high degree of risk involved”).

                      7.      The Settlement exceeds awards in similar cases.

           The Settlement is an extremely beneficial outcome for the Class. The Settlement provides

    for a cash payment on behalf of Defendants of $1.5 million. The amount of the recovery strongly

    supports accepting the settlement.

           Courts regularly find settlements to be fair, reasonable, and adequate and grant their

    approval when they meet or exceed the median settlement for similar cases. See Crocs at *672

    n.20 (finding that the $10 million settlement, which represented a recovery of approximately

    1.3 percent of the amount of damages that could be achieved, was in line with the median ratio of

    settlement size to investor losses); Booth v. Strategic Realty Tr., Inc., 2015 U.S. Dist. LEXIS

    140723, *17 (N.D. Cal. Oct. 15, 2015) (Settlement of $5 million represented approximately 20

    percent recovery, which exceeded the 11.7 percent median settlements in securities class action

    cases between 2005 and 2014 involving estimated damages of less than $50 million); Beaver Cty.

    Employees' Ret. Fund v. Tile Shop Holdings, Inc., 2017 U.S. Dist. LEXIS 91651, at *8 (D. Minn.

    June 14, 2017) (Settlement of $9.5 million, which represented a recovery of approximately 6.8%

    to 9.5% of the estimated maximum provable damages, exceeded the median settlement as a

    percentage of estimated damages in the Eighth Circuit from 2007 through 2016); In re GSE Bonds

    Antitrust Litig., No. 19-cv-1704 (JSR), 2020 U.S. Dist. LEXIS 10482, at *12 (S.D.N.Y. June 16,

    2020) (Court found that the $14.5 million settlement amount represented 6% to 12% of the best

    possible recovery). Given the overall recovery at hand relative to previous settlement recoveries,

    Plaintiff’s Counsel’s work is deserving of the requested fee award.

           III.    AN INCENTIVE AWARD FOR LEAD PLAINTIFF IS WARRANTED




                                                     17
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 18 of 36




           Plaintiff seeks a $5,000 award in recognition of his substantial involvement in all aspects

    of this litigation. See Ex. B. Plaintiff is the only GrowCo investor who stepped forward to prosecute

    the alleged harm to GrowCo investors arising from Defendants’ conduct. Absent Plaintiff’s

    initiative, time and effort, the results obtained through this proposed Settlement would not have

    occurred.

           “Courts have held that incentive awards are an efficient and productive way to encourage

    members of a class to become class representatives, and to reward the efforts they make on behalf

    of the class.” Lucken at *16 (relying upon In re U.S. Bancorp Litigation, 291 F. 3d 1035, 1038

    (8th Cir.), cert. denied, 537 U.S. 823, 123 S. Ct. 108, 154 L. Ed. 2d 32 (2002)) (approving incentive

    award of $10,000 for named plaintiff). The Lucken court cited In re Mego Financial Corp. Sec.

    Litig., 213 F. 3d 454, 463 (9th Cir. 2000), where the court approved a $5,000 incentive award to

    each plaintiff where settlement was valued at $1.75 million, as an example of a ”reasonable

    incentive.” Lucken at *16.

           When considering the appropriateness of an incentive award for a class representative, “the

    Court should consider: (1) the actions the class representative took to protect the interests of the

    class; (2) the degree to which the class has benefitted from those actions; and (3) the amount of

    time and effort the class representative expended in pursuing the litigation.” Ramos v. Health, 2020

    U.S. Dist. LEXIS 210056, at *10-11 (D. Colo. Nov. 10, 2020). Courts have approved awards on

    the basis of plaintiff’s time and effort in situations where plaintiffs have: (i) reviewed pleadings

    and other case materials; (ii) responded to or assisted in the drafting of discovery; (iii) reviewed

    and consented to settlement; and (iv) maintained contact with counsel in an effort to monitor the

    litigation. In re Lease Oil Antitrust Litig. (No. II), 186 F.R.D. 403, 449 (S.D. Tex. 1999) (awards

    approved where plaintiffs attended court hearings and responded to discovery); In re Corel Corp.




                                                     18
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 19 of 36




    Inc. Sec. Litig., 293 F. Supp. 2d 484, 498 (E.D. Pa. 2003) (awards approved where plaintiffs

    responded to discovery and were deposed); In re Heritage Bond Litig., No. 02-ML-1475 DT, 2005

    WL 1594403, at *14 (C.D. Cal. June 10, 2005) (awards approved where plaintiffs reviewed case

    pleadings before filing, responded to discovery, and monitored the litigation.); In re Xcel Energy,

    Inc., Sec., Derivative & “ERISA” Litig., 364 F. Supp. 2d 980, 1003 (D. Minn. 2005) (awards

    approved where plaintiffs conferred with counsel, responded to discovery and reviewed and

    consented to settlement).

            Plaintiff’s Counsel submits that a $5,000.00 award to Plaintiff is appropriate, reasonable,

    and within the range typically awarded by courts in this District and elsewhere, in view of the

    considerable time and effort he spent in connection with this matter. More specifically, and as

    detailed in his Declaration attached hereto as Ex. B, Plaintiff Paulson assisted in Plaintiff’s

    Counsel’s investigation, preparation, and prosecution of this Action by providing documents to

    Plaintiff’s Counsel in connection with his GrowCo investment; reviewed and approved pleadings

    and briefs filed in this Action; and consulted with Plaintiff’s Counsel regarding significant events

    in the litigation. In addition, as a result of filing this Action, Plaintiff was named as a defendant by

    GrowCo in an adversary proceeding in connection with GrowCo’s bankruptcy, in an attempt to

    delay the resolution of this Action. Plaintiff Paulson later filed a limited objection in bankruptcy

    to Mr. McKowen’s motion for relief from the automatic stay in the bankruptcy proceedings, in

    which Mr. McKowen sought access to the insurance policy that provided the settlement proceeds

    for this Action. In addition, Plaintiff was available during the mediation process and consulted

    with Plaintiff’s Counsel in connection therewith. See Ex. B, attached.

            Based on Plaintiff’ extensive involvement, efforts, and expenditure of time in this Action,

    which resulted in a substantial benefit to the class, Plaintiff submits that his requested award of




                                                      19
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 20 of 36




    $5,000.00 is fair and reasonable and, as shown above, in line with the incentive award referenced

    by the Luken court, of $5,000.00 for a comparable settlement of $1.75 million. See Lucken at *16.

           IV.     PLAINTIFF’S COUNSEL INCURRED REASONABLE AND NECESSARY
                   OUT-OF- POCKET LITIGATION EXPENSES

            “As with attorneys’ fees, an attorney who creates or preserves a common fund for the

    benefit of a class is entitled to receive reimbursement of all reasonable costs incurred.” Vaszlavik

    at *11. “There is no doubt that an attorney who has created a common fund for the benefit of the

    class is entitled to reimbursement of reasonable litigation expenses from that fund.” Ontiveros v.

    Zamora, 303 F.R.D. 356, 375 (E.D. Cal. 2014) (quotation marks and citations omitted). Courts

    regularly award litigation costs and expenses, “including photocopying, printing, postage, court

    costs, research on online databases, experts and consultants, and reasonable travel expenses – in

    securities class actions, as attorneys routinely bill private clients for such expenses in non-

    contingent litigation.” Destefano v. Zynga, Inc., 2016 U.S. Dist. LEXIS 17196, at *72 (N.D. Cal.

    Feb. 11, 2016) (noting that a prevailing plaintiff may be entitled to costs including, among other

    things, “postage, investigator, copying costs, hotel bills, meals,” and messenger services)); see also

    Bratcher v. Bray-Doyle Indep. Sch. Dist. No. 42, 8 F. 3d 722, 725-26 (10th Cir. 1993) (expenses

    properly awarded if the charges would normally be billed to client).

            In addition to a reasonable attorneys’ fee, Plaintiff’s Counsel respectfully seeks $7,122.65

    for expenses and charges reasonably and necessarily paid or incurred in connection with

    investigating, prosecuting, and resolving the claims against Defendants. These expenses are

    itemized in the Declarations of Plaintiff’s Counsel attached hereto. Plaintiff’s Counsel seeks

    payment for the types of expenses and charges necessarily incurred in litigation and routinely

    charged to clients who are billed by the hour. Therefore, these expenses and charges, such as expert

    witness fees, investigation, research, and filing fees, should be reimbursed.




                                                     20
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 21 of 36




           V.      CONCLUSION

            For the foregoing reasons, Plaintiff’s Counsel respectfully requests that the Court

    award attorneys’ fees in the amount of $495,959.12 (i.e., one-third of the net Settlement), an

    incentive award of $5,000.00 to Plaintiff, and reimbursement of $7,122.65 in litigation expenses.

    Dated: April 8, 2022

                                                 /s/ Steve A. Miller
                                                 Steve A. Miller, No. 8758
                                                 STEVE A. MILLER, P.C.
                                                 162 Larimer St., Suite 2906
                                                 Denver, CO 80202
                                                 Telephone: (303) 892-9933
                                                 Fax: (303) 892-8925
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                                                 Local Counsel for Plaintiff

                                                 Paul J. Scarlato (pro hac vice)
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                                                 J. Barton Goplerud (pro hac vice)
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                                                 marty@sagwlaw.com
                                                 Counsel for Plaintiff and the Putative Class




                                                   21
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 22 of 36




                                      CERTIFICATE OF SERVICE

              I hereby certify that on the 8th day of April, 2022, the foregoing Plaintiff’s Motion for an

    Award of Attorneys’ Fees, Incentive Award, and Reimbursement of Litigation Expenses was

    filed and served electronically via CM/ECF, which will be sent electronically to all counsel of

    record.

                                                   /s/ Paul J. Scarlato
                                                   Paul J. Scarlato




                                                      22
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 23 of 36




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

    Civil Action No. 19-cv-02639-PAB-NYW

    JOHN PAULSON, an individual,

    Plaintiff,

    v.

    TWO RIVERS WATER AND FARMING COMPANY, a Colorado corporation; JOHN R.
    MCKOWEN, an individual; WAYNE HARDING, an individual; and TIMOTHY BEALL, an
    individual,

    Defendants.
    _____________________________________________________________________________

              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
        ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES
    _____________________________________________________________________________

             Having read and considered the papers filed and arguments made by counsel, and good
    cause appearing,

    IT IS HEREBY ORDERED AS FOLLOWS:

         1. The Court hereby awards Plaintiff’s Counsel $495,959.12, which represents one-third of the
            net Settlement Fund for the class action Settlement;

         2. The Court hereby awards Plaintiff John Paulson an Incentive Award in the amount of
            $5,000.00; and

         3. The Court awards Plaintiff’s Counsel reimbursement of expenses in the amount of $7,122.65
            which shall be paid from the Settlement Fund.

            SO ORDERED this _____ day of __________, 2022.




                                                    __________________________
                                                    Philip A. Brimmer
                                                    Chief United States District Judge



                                                     23
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 24 of 36




                     EXHIBIT 1
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 25 of 36




                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO


    JOHN PAULSON,                            ) Civil Action No. 19-cv-02639-PAB-NYW
    Individually and on Behalf of all Others )
    Similarly Situated,                      )
                                             )
                                Plaintiff    )
                                             )
           v.                                )
                                             )
    TWO RIVERS WATER AND                     )
    FARMING COMPANY, JOHN R.                 )
    MCKOWEN, WAYNE HARDING and )
    TIMOTHY BEALL,                           )
                                             )
    Defendants                               )
                                             )


     DECLARATION OF PAUL J. SCARLATO IN SUPPORT OF PLAINTIFF’S
     MOTION FOR ATTORNEYS’ FEES, COSTS, AND INCENTIVE AWARD

           1.      I, Paul J. Scarlato, declare as follows:

           2.      I am a Partner of the law firm Goldman, Scarlato & Penny, P.C. and its successor

    firm in this Action, Rosca Scarlato, LLC (the “Firms”). I submit this Declaration in Support of

    Plaintiff’s motion for attorneys’ fees and expenses in connection with the services rendered, and

    costs and expenses incurred, the above-captioned action (the “Action”). I make this declaration

    based on my personal knowledge of the matters set forth herein and could competently testify

    thereto.

           3.      I, along with my partner Alan Rosca, served as Court-appointed Class Counsel in

    this matter and played a meaningful role advancing the litigation handling all aspects of this Action

    from inception through Settlement on behalf of the firms’ client and Class Representative, John

    Paulson.
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 26 of 36




              4.      The chart below sets forth a summary of the Firms’ total hours and lodestar,

    computed at current rates, for the period from inception of the case through April 8, 2022. The

    total number of hours spent by the Firms during this time-period was 801.07, with a corresponding

    current lodestar of $508,052.25. 1 This summary was prepared from contemporaneous, daily time

    records regularly prepared and maintained by the firms. In connection with representing Plaintiff

    in the Action, my Firms did the following 2: Drafted the initial class action complaint and amended

    complaint, opposed GrowCo’s motion for a TRO and preliminary injunction in the bankruptcy

    court, opposed Mr. McKowen’s motion to stay, opposed Mr. McKowen’s motion to dismiss,

    sought a default judgment against Mr. Beall, propounded discovery against Defendants and third-

    parties, conducted a thorough review of the facts, conducted the mediation, and drafted two

    motions for preliminary approval of the Settlement and for final approval. The hourly rates for the

    attorneys and professional staff in the Firms reflected below are the usual and customary hourly

    rates charged by the Firms in similar complex litigation matters.

                                     GOLDMAN SCARLATO & PENNY, PC

                                        Professional                                          Total
                   Timekeeper                                Hours             Rate
                                          Status                                            Lodestar
                Paul Scarlato                P               218.20            $725        $158,195.00
                 Alan Rosca                  P               282.20            $700        $197,540.00
              Christian Pfeiffer             A               181.65            $425         $77,201.25
             Brendan McDonnell               A                13.82            $425          $5,873.50
                Violet Bunici               PL                16.70            $200          $3,340.00
                        Grand Total                          712.57                        $442,149.75

                                            ROSCA SCARLATO, LLC

                                        Professional                                          Total
                   Timekeeper                                Hours             Rate
                                          Status                                             Lodestar


    1
        Such time does not include any time expended in completing this Declaration.
    2
        There was no overlap between the activities of each of the Firms, and no time was recorded by both
        Firms for the same activity.
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 27 of 36




                Paul Scarlato               P               69.6            $750           $52,200.00
                 Alan Rosca                 P              18.90            $725           $13,702.50
                        Grand Total                        88.50                           $65,902.50

           Role Legend

           P        Partner/Shareholder
           OC       Of Counsel
           A        Associate
           LC       Law Clerk
           PL       Paralegal

           5.       The 801.07 total hour figure does not include time spent on the Plaintiff’s motion

    for attorneys’ fees, and costs, or on further claims administration, time for which the Firms have

    not and will not seek reimbursement.

           6.       The Firms has/will expend a total of $6,631.65 in unreimbursed costs and expenses

    in connection with the prosecution of the Action from inception of the case through and including

    as set forth in the chart below. These costs and expenses are reflected on the books and records of

    the Firms. They were incurred on behalf of Plaintiff by my Firms and have not been reimbursed.

                                  GOLDMAN, SCARLATO & PENNY, PC

                                Costs and Expenses                              Amount
            Court fees (including filing fees)                                  $896.00
            Mediation Fee                                                      $1,221.80
            Database fees (Westlaw, LEXIS, Bloomberg, etc.)                     $545.06
            Expert witness fees/expenses (including non-testifying
                                                                                $900.00
            consultants)
            Express and hand delivery (FedEx, couriers, etc.)                   $697.67
            Photocopies (in-house)                                                 $2.30
            Transcript                                                          $106.25
            Postage                                                                $1.00
            Travel                                                              $761.87
            Grand Total                                                        $5,131.65
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 28 of 36




                                         ROSCA SCARLATO, LLC

                               Costs and Expenses                               Amount
            Travel                                                               $1,500
            Grand Total                                                          $1,500


           I declare under penalty of perjury that the foregoing is true and correct. Executed this 8th

    day of April, 2022 at Conshohocken, PA.




                                                     Paul J. Scarlato
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 29 of 36




                     EXHIBIT 2
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 30 of 36
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 31 of 36
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 32 of 36
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 33 of 36




                     EXHIBIT 3
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 34 of 36




                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO


    JOHN PAULSON,                            ) Civil Action No. 19-cv-02639-PAB-NYW
    Individually and on Behalf of all Others )
    Similarly Situated,                      )
                                             )
                                Plaintiff    )
                                             )
           v.                                )
                                             )
    TWO RIVERS WATER AND                     )
    FARMING COMPANY, JOHN R.                 )
    MCKOWEN, WAYNE HARDING and )
    TIMOTHY BEALL,                           )
                                             )
    Defendants                               )
                                             )


      DECLARATION OF STEVE A. MILLER, IN SUPPORT OF PLAINTIFFS’
     UNOPPOSED MOTION FOR ATTORNEYS’ FEES, COSTS, AND SERVICE
                              AWARD

           1.      I, Steve A. Miller, declare as follows:

           2.      I am a Partner of the law firm of Steve A. Miller, P.C. I submit this Declaration in

    Support of Plaintiff’s motion for attorneys’ fees and expenses in connection with the services

    rendered, and costs and expenses incurred, in the above-captioned action (the “Action”). I make

    this declaration based on my personal knowledge of the matters set forth herein and could

    competently testify thereto.

           3.      My firm served as Court-appointed Additional Plaintiff’s Counsel in this matter

    and played a meaningful role advancing the litigation through various work assignments and

    projects related to the firm’s client and Class Representative, John Paulson.
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 35 of 36




             4.      The chart below sets forth a summary of my firm’s total hours and lodestar,

    computed at current rates, for the period from inception of the case through 04/29/22. The total

    number of hours spent by my firm during this time period was 40, with a corresponding current

    lodestar of $20,000.1 This summary was prepared from contemporaneous, daily time records

    regularly prepared and maintained by my firm. In connection with representing Plaintiff in the

    Action, my firm did the following: Review materials, pleadings, motions, orders, documents,

    confer with and assist Class Counsel, attend court proceedings and mediation, and assist with

    filings. The hourly rates for the attorneys and professional staff in my firm reflected below are the

    usual and customary hourly rates charged by my firm in similar complex litigation matters.

                                       Professional                                          Total
                  Timekeeper                                Hours             Rate
                                         Status                                            Lodestar
              Steve A. Miller               P                  40             $500         $20,000.00



                        Grand Total                            40             $500         $20,000.00

             Role Legend
             P     Partner/Shareholder
             OC Of Counsel
             A     Associate
             LC Law Clerk
             PL    Paralegal

             5.      Steve A. Miller’s total hours do not include time spent on the Plaintiff’s motion for

    attorneys’ fees, and costs, or on further claims administration, time for which Steve A. Miller, P.C.

    has not and will not seek reimbursement.

             6.      My firm has expended a total of $0 in unreimbursed costs and expenses in

    connection with the prosecution of the Action from inception of the case through and including


    1
        Such time does not include any time expended in completing this declaration.
Case 1:19-cv-02639-PAB-NYW Document 170 Filed 04/11/22 USDC Colorado Page 36 of 36
